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ALAN R. SMITH, ESQ. #1449

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Attorney for Debtors

ANTHONY THOMAS and WENDI

THOMAS and AT EMERALD, LLC

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
—oo0000—
In Re: Case No. BK-N-14-50333-BTB

Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and
WENDI THOMAS, Chapter 11 Cases

[Jointly Administered]

DECLARATION OF ANTHONY
THOMAS IN SUPPORT OF EX PARTE
MOTION TO SEAL AND REPLACE
DOCKET ENTRIES 83, 87, AND 88

AT EMERALD, LLC,

Debtors. /

I, ANTHONY THOMAS, being first duly sworn, declare and say under penalty of

 

perjury as follows:

1, J am over the age of 18 years of age, and I am mentally competent. I am the
managing member of AT Emerald, LLC. |

2. Except as otherwise indicated, all facts set forth in this declaration are based
upon my personal knowledge. If called upon to testify as to the contents of this declaration,
I could and would do so.

3. On June 19, 2014, I on behalf of AT Emerald, LLC entered into a Purchase
and Sale Agreement with the purchaser wherein the purchaser agrees to purchase the 21,000

carat emerald matrix (the “Emerald’’) for cash, payable at close of escrow.

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ALAN R. SMITH
505 Ridge Street

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4, On June 23, 2013, I caused to be filed the Debtor’s Motion To Sell Assets
Free And Clear Of Liens And Motion To File Purchase And Sale Agreement Under Seal
[DE 83]; the Debtor’s Ex Parte Motion To File Purchase And Sale Agreement Under Seal
[DE 87]; and the Declaration Of Anthony Thomas In Support Of Motion To Sell Assets
Free And Clear Of Liens And Motion To File Purchase And Sale Agreement Under Seal
[DE 88] (hereinafter collectively referred to as the “Documents”).

5. That the Documents filed disclose the name and identity of the purchaser of
the Emerald as well as the purchaser’s authorized representative.

6. That the purchaser has requested that its name and the name of its authorized
representative not be disclosed in any public document, but be filed with the Court under
seal.

DATED this 30 day of June, 2014.

ANTHONY THOMAS

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